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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

MARCUS O’DELL,

Plaintiff,

Civil Action No. 18~12163

'VS' Hon. Victoria A. Roberts

FCA US, LLC, GP STRATEGIES
CORPORATION, AND POPULUS

 

 

 

 

GROUP, LLC.,

Defendants.
David A. Hardesty (P38609) Allan S. Rubin (P44420)
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STATEMENT OF CORPORATE AFFILIATIONS MADE
PURSUANT TO FED. R. CIV. P. 7.1(A)

Pursuant to Fed. R. Civ. P. 7.1(a), Defendant FCA US LLC is a DelaWare
limited liability company lt has one member, FCA North America Holdings LLC,
Whose sole member is Fiat Chrysler Automobiles N.V., a publicly traded company

organized and existing under the law of The Netherlands.

Respectfully Subrnitted,

/s/ Allan S. Rubin

Allan S. Rubin (P44420)

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